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12
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13

14                                 UNITED STATES DISTRICT COURT

15                                NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN JOSE DIVISION

17   MATT JONES; BRYSON DECHAMBEAU;                 Case No. 5:22-cv-04486-BLF
     PETER UIHLEIN; and LIV GOLF, INC.,
18                                                  DECLARATION OF MAILE N. YEATS-
                    Plaintiffs,                     ROWE ISO DEFENDANT AND CROSS-
19                                                  CLAIMANT PGA TOUR, INC.’S
               v.                                   ADMINISTRATIVE MOTION TO
20                                                  ADJUST BRIEFING SCHEDULE FOR
     PGA TOUR, INC.,                                MOTION TO COMPEL SUBPOENA
21                                                  COMPLIANCE
                    Defendant.
22                                                  Judge:      Hon. Beth Labson Freeman
                                                    Date Filed: August 3, 2022
23                                                  Trial Date: January 8, 2024
     PGA TOUR, INC.,
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                    Counterclaimant,
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               v.
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     LIV GOLF, INC.,
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                    Counterdefendant.
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                                                1
      DECLARATION OF MAILE N. YEATS-ROWE ISO ADMINISTRATIVE MOTION TO ADJUST BRIEFING
                   SCHEDULE FOR MOTION TO COMPEL SUBPOENA COMPLIANCE
                                   Case No. 5:22-cv-04486-BLF
     1944594
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 1             I, Maile N. Yeats-Rowe, declare as follows:

 2             1.     I am duly licensed to practice law in the State of California and am an associate

 3   with the law firm of Keker, Van Nest & Peters LLP, counsel of record for the PGA Tour, Inc.

 4   (“the TOUR”) in the above-captioned matter. I submit this declaration in support of the TOUR’s

 5   Administrative Motion to Adjust Briefing Schedule for Motion to Compel Subpoena Compliance

 6   (the “Administrative Motion”). I have knowledge of the facts set forth in this declaration and, if

 7   called to testify as a witness thereto, could do so competently under oath.

 8             2.     On November 8, 2022, I corresponded with counsel for Public Investment Fund of

 9   the Kingdom of Saudi Arabia (“PIF”) and Yasir Al-Rumayyan in writing regarding the TOUR’s

10   request for an adjusted briefing schedule for the TOUR’s motion to compel compliance with

11   subpoenas served on third parties PIF and Mr. Al-Rumayyan (the “Motion to Compel”). I

12   inquired whether PIF and Al-Rumayyan would stipulate to a condensed schedule for briefing the

13   TOUR’s Motion to Compel. Counsel for PIF and Mr. Al-Rumayyan responded that they would

14   not stipulate to the TOUR’s proposed schedule, and instead offered to stipulate to a schedule that

15   would extend the briefing schedule on both the TOUR’s Motion to Compel and any Motion to

16   Quash filed by PIF and Mr. Al-Rumayyan. I responded that the TOUR could not stipulate to such

17   an extension in light of the expedited discovery schedule in this action.

18             3.     On October 10, 2022, I attended a telephonic meet-and-confer with counsel for

19   PIF and Mr. Al-Rumayyan to discuss their objections to the document and deposition subpoenas

20   the TOUR served on them on September 22, 2022. At that meet-and-confer, and in subsequent

21   written correspondence, counsel for the TOUR made clear that it disagreed with PIF and Mr. Al-

22   Rumayyan’s position that they were immune from jurisdiction from courts of the United States

23   and not relevant to this action, and that the TOUR intended to file a Motion to Compel to that

24   effect in the United States District Court for the Southern District of New York. At that meet-and-

25   confer, and in subsequent written correspondence, counsel for PIF and Mr. Al-Rumayyan also

26   communicated to counsel for the TOUR that they contemplated filing a Motion to Quash.

27             4.     PIF and Mr. Al-Rumayyan have produced no documents in response to the

28   subpoenas as of the date of this filing.
                                                2
      DECLARATION OF MAILE N. YEATS-ROWE ISO ADMINISTRATIVE MOTION TO ADJUST BRIEFING
                   SCHEDULE FOR MOTION TO COMPEL SUBPOENA COMPLIANCE
                                   Case No. 5:22-cv-04486-BLF
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     Case 5:22-cv-04486-BLF Document 145-1 Filed 11/08/22 Page 3 of 3



 1             5.     On October 21, 2022, the TOUR filed an ex parte Motion to File Under Seal in the

 2   United States District Court for the Southern District of New York, seeking to file the Motion to

 3   Compel partially under seal, in accordance with the local rules of the Southern District of New

 4   York, because that Motion contained documents designated Confidential by Plaintiff LIV Golf,

 5   Inc. (“LIV”). That Motion to File Under Seal included as exhibits redacted and unredacted

 6   versions of the Motion to Compel and all supporting documents.

 7             6.     On October 22, 2022, the TOUR served on counsel for LIV—which includes all

 8   counsel of record for PIF and Mr. Al-Rumayyan—the complete Motion to File Under Seal,

 9   including the redacted and unredacted versions of the Motion to Compel and all supporting

10   documents.

11             7.     Attached hereto as Exhibit 1 are excerpted portions of the August 18, 2022,

12   Transcript of Proceedings before the Honorable Beth Labson Freeman, United States District

13   Judges in the above-captioned action.

14             I declare under penalty of perjury under the laws of the United States of America that the

15   foregoing is true and correct and that this declaration was executed on November 8, 2022, San

16   Francisco, California.

17                                                  /s/ Maile N. Yeats-Rowe
                                                    MAILE N. YEATS-ROWE
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      DECLARATION OF MAILE N. YEATS-ROWE ISO ADMINISTRATIVE MOTION TO ADJUST BRIEFING
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